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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF TENNESSEE
                                  EASTERN DIVISION

JUDY PAYTON, an Individual,

                     Plaintiff,
                                                       Judge J. Breen
v.
                                                       Magistrate Judge Edward G. Bryant
STANFILL, INC., a Tennessee Corporation,               Case No.: 1:13-cv-01215
d/b/a Stanfill Sonics,

                     Defendant.

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                     JOINT STIPULATION FOR DISMISSAL
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       Pursuant to Fed.R.Civ.P. 41(a)(1)(A)(ii), Plaintiff Judy Payton (“Plaintiff”) and Defendant

Stanfill, Inc., by and through their respective attorneys, hereby jointly stipulate to the dismissal of

Plaintiff’s claims against Defendant in their entirety with prejudice based on the settlement of this

matter between the parties, with each party to bear their own costs and attorneys’ fees except as

specified in the settlement agreement entered into and between the parties.


Dated: March 27, 2015                                  Respectfully submitted,

s/ Steve A. Miller                                     s/ Gordon E. Jackson
Steve A. Miller (pro hac vice admission)               Gordon E. Jackson
Scott C. Fanning (pro hac vice admission)              James L. Holt, Jr.
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                                CERTIFICATE OF SERVICE

     I certify that on March 27, 2015, a true and correct copy the foregoing JOINT
STIPULATION FOR DISMISSAL was served upon the following:

                                   Gordon E. Jackson
                                    James L. Holt, Jr.
                                   Timothy A. Perkins
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                                                    s/ Steve A. Miller
                                                    Steve A. Miller (Pro hac vice)
                                                    COUNSEL FOR DEFENDANT




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